Case 1: 05- --cr 10018- .]DT Document 28 Filed 08/18/05 Page 1 of 6 Page`l@$ 33

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-v- 05-10018-01-T “"YQ¢,»‘§/”r`/'

T|MOTH‘( |SA|H CAMPBELL
Ramsdale O’DeNeal. Jr.. Retained
Defense Attorney
423 North High|and Avenue
Jackson, TN 38301

 

JUDGMENT lN A CR|M|NAL CASE _
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on |V|ay 16, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

 

Date Of'fense Count
Tit|e & Se¢ti°n Nature of Offense Concluded Number(§j
18 U.S.C. § 922(g) Domestic Vio|ence l\/lisdemeanant 09/22/2004 1

in Possession of a Firearm

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Vlandatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of namer residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 06/11/1982 August 16, 2005
Deft’s' U.S. l\/larsha| No.: 19952-076

Defendant’s Nlai|ing Address:
68 Caro|ane; Apt. L
Jackson, TN 38301

WZQM

JA|V|ES .TODD
CH|EF NETED STATES D|STR|CT JUDGE

August fy ,2005

This document entered on the docket sheet in compliance
with nine 55 and/or 32(b) FRch on Z)P".g 33 05

 

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Case No: l:OBcr'i 0018-01-T Defendant Name: Timothy |saih Campbe|| Page 2 of 5
IMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 9 Months as to the One (1) Count indictmentl

The Court recommends to the Bureau of Prisons: Defendant serve sentence at the
Federal Prison Camp at Mil|ington.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the U. S. District Clerk's Oche in the Order to Surrender.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. |V|arsha|

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Case No: 1:050r10018-01-T Defendant Name: Timothy |saih Campbell Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonmentl the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation ocher and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation officer;

4. The defendant shall work regularly ata lawful occupation unless excused by the probation officer for
schooling, trainingl or other acceptable reasons;

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

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Case No: 1:050r10018-01-T Defendant Name: Timothy |saih Campbe|l Page 4 of 5

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

‘lt. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|TIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additionai conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for drug
and alcohol abuse as directed by the probation officer until such time as the defendant is
released from the program by the probation officer.

2. The defendant shall participate in mental health counseling to include anger management
therapy or classes, as directed by the probation officer until such time as the defendant is
released from the program by the probation officer.

3. The defendant shall cooperate with the United States Probation Office in the collection of
DNA.

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Case No: 1:050r10018-01-T Defendant Name: Timothy |saih Campbell Page 5 of 5

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00

The Special Assessment shall be due immediately
F|NE
No fine imposed

REST|TUT|ON

No Restitution was ordered.

DISTRIC COUR - WESERNT D"CTRIT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 1:05-CR-100] 8 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Ramsdale O'DeNeal
O'DeNEAL LAW FIRM
423 North Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

